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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                 WEST PALM BEACH DIVISION

                                 CASE NO: 22-cv-81294-CANNON


  DONALD J. TRUMP,

         Plaintiff,


  v.

  UNITED STATES OF AMERICA,

         Defendant.
                                        /

                                PLAINTIFF’S NOTICE OF FILING

         The Plaintiff, DONALD J. TRUMP, pursuant to this Court's Order and the applicable rules

  of the Federal Rules of Civil Procedure, respectfully files a proposed Judicial Protective Order to be

  considered by this Court. On September 20, 2022, the Defendant filed its proposed Protective Order

  [ECF No. 102]. The Plaintiff's proposed Order tracks that of the Defendant except as to the

  language in paragraph 2. The Plaintiff proposes that the names of those given access to the Seized

  Materials be provided to the Special Master, and not to the Government. The Government has not

  disclosed and does not plan to disclose the names of all persons on their side, and the Plaintiff

  therefore should not be treated any differently. Moreover, the Special Master can maintain the list of

  names so that in the event there are any compliance issues, there will exist a written record of the

  requisite acknowledgements.
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                                                 Respectfully submitted,

                                                 CHRIS KISE & ASSOCIATES, P.A.
                                                 201 East Park Avenue
                                                 5th Floor
                                                 Tallahassee, FL 32301
                                                 Telephone: (850) 270-0566

                                                 By: /s/ Christopher M. Kise
                                                        Christopher M. Kise
                                                        Florida Bar No: 855545
                                                        chris@ckise.net


                                   CERTIFICATE OF SERVICE

          I hereby certify that on September _23rd , 2022, I electronically filed the foregoing document
  with the Clerk of the Court using CM/ECF. I also certify that the foregoing document is being served
  this day on all counsel of record or pro se parties identified on the attached Service List in the
  manner specified, either via transmission of Notices of Electronic Filing generated by CM/ECF or in
  some other authorized manner for those counsel or parties who are not authorized to receive
  electronically Notice of Electronic Filing.
                                                         Respectfully submitted,

  Lindsey Halligan                                      By: /s/ Christopher M. Kise
  Florida Bar No. 109481                                Christopher M. Kise
  511 S.E. 5th Avenue                                   Florida Bar No. 855545
  Suite 1008                                            Chris Kise & Associates, P.A.
  Fort Lauderdale, FL 33301                             201 East Park Avenue
  Lindseyhalligan@outlook.com                           5th Floor
                                                        Tallahassee, FL 32301
  M. Evan Corcoran                                      Telephone: (850) 270-0566
  SILVERMAN|THOMPSON|                                   Email: chris@ckise.net
  SLUTKIN|WHITE, LLC
  400 East Pratt Street – Suite 900                     James M. Trusty
  Baltimore, MD 21202                                   Ifrah Law PLLC
  Telephone: (410) 385-2225                             1717 Pennsylvania Avenue N.W.
  Email: ecorcoran@silvermanthompson.com                Suite 650
  (pro hac vice)                                        Washington, DC 20006
                                                        Telephone: (202) 524-4176
                                                        Email: jtrusty@ifrahlaw.com
                                                        (pro hac vice)

                                                        Counsel for Plaintiff
                                                        Donald J. Trump
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